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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

      v.
                                                        CR NO. 21-CR-0071 (ABJ)
KARL DRESCH,


     Defendant.


                            NOTICE OF FILING DISCOVERY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files its March 23, 2021 Notice of Discovery in this case.

Government counsel has made available certain discovery to the Defendant in accordance with the

government’s discovery obligations, and pursuant to the protective order entered in this case on

March 23, 2021, as outlined in a letter sent to counsel for the Defendant via electronic mail on

March 23, 2021.

                                            Respectfully submitted,

                                            CHANNING D. PHILLIPS
                                            ACTING UNITED STATES ATTORNEY
                                            D.C. Bar No. 415793

                                    By:     _/s/ Jennifer L. Blackwell_______
                                            Jennifer Leigh Blackwell
                                            Assistant United States Attorney
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Dated: March 23, 2021
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                                CERTIFICATE OF SERVICE

        On this 23rd day of March, a copy of the foregoing was served on counsel of record for
the defendant via the Court’s Electronic Filing System.



                                                      /s/ Jennifer Leigh Blackwell
                                            Jennifer Leigh Blackwell
                                            Assistant United States Attorney
